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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF TEXAS
HOUSTON DIVISION

ALISON S. ROGERS,
Plaintiff,
CIVIL ACTION NO. 4:18-cv-04181

Vv.

CAR WASH PARTNERS, INC.
DBA MISTER CAR WASH CO.,
CWP ASSET CORP., and
JOHN DOE,

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Defendants. JUDGE GRAY H. MILLER

ORDER GRANTING
PLAINTIFF ROGERS’ UNOPPOSED MOTION
TO ADD DEFEDANT CWP ASSET CORP.

 

Having heard Plaintiff Alison S. Rogers (“Rogers”)’s Unopposed Motion to Add CWP
Asset Corp. as a Defendant in this action, this Court hereby GRANTS the Motion. Plaintiff Rogers

may amend her pleadings to add CWP Asset Corp. as a Defendant in this action.

     
 

SIGNED at Houston, Texas this LS 1 day of April, 2019,

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Gray H. Mil
United States District Judge

 
